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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

      UNITED STATES OF AMERICA

      v.                    Case No. 8:14-cr-64-T-17TGW

      CARLOS VELAZQUEZ-ROMAN

                            FINAL JUDGMENT OF FORFEITURE

             THIS CAUSE comes before the Court upon the United States’ Motion for a

      Final Judgment of Forfeiture, pursuant to 21 U.S.C. § 853(n)(7), and Rule

      32.2(c)(2) of the Federal Rules of Criminal Procedure, for the following property:

                    a.     One 2011 Infiniti QX56 SUV, white, Vehicle Identification
                           Number: JN8AZ2NF4B9501298, Florida Tag No. X128GG,
                           registered to Carlos Velazquez;

                    b.     Approximately $1,544.03 seized from both Wells Fargo Bank
                           Checking Account Number 2568822239, held in the names of
                           Carlos Velazquez Roman and Yasmina Santos, and Wells
                           Fargo Bank Savings Account Number 2568731620, held in
                           the names of Carlos Velazquez Roman and Yasmina
                           Santos; and

                    c.     Approximately $30,000.00 in U.S. currency.

             In addition, the United States moves, pursuant to 21 U.S.C. § 853(p), as

      incorporated by 18 U.S.C. § 982(b)(1), and Rule 32.2(e)(1)(B), for a Final

      Judgment of Forfeiture for the following substitute assets in partial satisfaction of

      the defendant’s $1,530,000.00 Forfeiture Money Judgment:

                    a.     The real property located at 4871 Kendsha Street, North Port,
                           Florida, including all improvements thereon and
                           appurtenances thereto, the legal description for which is as
                           follows:
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                             Lot 23, Block 1077, TWENTY-THIRD ADDITION TO PORT
                             CHARLOTTE SUBDIVISION, as per plat thereof recorded in
                             Plat Book 14, Page 13, of the Public Records of Sarasota
                             County, Florida.

                             Property Identification Number: 1146-10-7723; and

                     b.      A 2009 Pleasure Outboard Fiberglass Vessel, Hull Number:
                             IYQ33005G809, Registration Number: FL5600NU with a
                             2008 All American Group Inc. trailer, Vehicle Identification
                             Number: 1A9BB34328F714198, Florida Tag No. ARUK92,
                             both registered in the name of Carlos Velazquez.

             On August 5, 2014, the Court entered a Preliminary Order of Forfeiture for

      the property described above. Doc. 272.

             The Court finds that in accord with 21 U.S.C. § 853(n) and Rule

      32.2(b)(6)(C), the United States published notice of the forfeiture and of its intent to

      dispose of the assets on the official government website, www.forfeiture.gov. from

      August 12, 2014 through September 10, 2014.            Doc. 339. The publication gave

      notice to all third parties with a legal interest in the asset to file with the Office of the

      Clerk, United States District Court, Middle District of Florida, Sam Gibbons Federal

      Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a

      petition to adjudicate their interest within 60 days of the first date of publication.

             The Court further finds that, in accord with the requirements of 21 U.S.C. §

      853(n), the United States sent notices of this forfeiture action, via United States

      certified and first class mail to Yasmina Santos, Yeleinys Morejon Santos, Maglay

      Molina, Rasters Investments, Inc, Teraskiewicz Holdings, LLC, and the Sarasota

      County Tax Collector, the only known parties or entities with an alleged legal
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      interest in the assets. No person or entity, other than the defendant (whose

      interest in the assets was forfeited to the United States in the Preliminary Order of

      Forfeiture), Yeleinys Morejon Santos and Magaly Molina, (neither person filed a

      claim), Teraskiewicz Holdings, LLC (whose claim has been settled), and the

      Sarasota County Tax Collector (whose interest has been recognized), and

      Yasmina Santos and Rasters Investments, Inc (who was has no legal interest) are

      known to have an interest in the assets. No other third party has filed a petition or

      claimed an interest in the assets, and the time for filing a petition has expired.

             Accordingly, it is hereby:

             ORDERED, ADJUDGED, and DECREED that for good cause shown, the

      United States’ motion is GRANTED.

             It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7), 18

      U.S.C. § 982(b)(1), and Federal Rule of Criminal Procedure 32.2(c)(2), all right,

      title and interest in the assets identified above are CONDEMNED and

      FORFEITED to the United States for disposition according to law, subject to the

      terms of the Stipulated Settlement Agreement with Teraskiewicz Holdings and the

      ad valorem real property taxes and non-ad valorem assessments due and owing

      to the Sarasota County Tax Collector in the instant case.




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             Clear title to the assets is now vested in the United States of America.

             DONE and ORDERED in Tampa, Florida, this                         day

      of _J Ul\l£_________________ , 2015.




      Copies to:
      Holly L. Gershow, AUSA
      Counsel of Record




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